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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
Plaintiff,
VS.
PERRY HARRIS,
Defendant.
PLEA AGREEMENT

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) CRIMINAL NO. 21-30003-DWD
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The attorneys for the United States and the attorneys for the Defendant have engaged in

discussions and have reached an agreement, pursuant to Federal Rule of Criminal Procedure

11(c)(1)(B). The terms are as follows:

I. Charges, Penalties, and Elements

1. Defendant understands the charges contained in the indictment and will plead

guilty to Counts 1, 3, 4, 6, 8 and 10. Defendant understands the essential elements of these

counts and the possible penalties, as set forth below:

 

|
| Count Charge

Statutory Penalties

Essential Elements |

 

| Racketeering

Conspiracy

18 U.S.C. § 1962(d)

 

 

Imprisonment: 0 years-Life
Fine: $0-$250,000 or twice the
gross profits or other proceeds,
whichever is greater
Supervised Release: 0-3 years

| Special Assessment: $100

 

The defendant knowingly conspired to
conduct or participate in the conduct of

the affairs of anenterprise througha —_—|
pattern of racketeering activity;

The enterprise was or would be
established: -

The activities of the enterprise would |
or did affect interstate commerce.

 
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Count Charge Statutory Penalties Essential Elements
| 1. The defendant knowingly committed
Use of a Firearm the elements of a crime of violence;
During and in and
Relation to a Crime | Imprisonment: 10 years-Life
3 of Violence | Fine: $0-$250,000 2. The defendant knowingly used,
| Supervised Release: 0 — 5 years cartied, or possessed a firearm; and
IBUSC.§ | Special Assessment: $100 |
eA 3. The use or carry of the firearm was
924 (CAA) & : : :
Section 2 during and in relation to the
defendant’s crime of violence.
|
Use of a Firearm 1. a oe Knowingly used or
During and in
eee eae Imprisonment: 0 years-Life 2. The defendant did so during and in
| 4 Death Fine: $0-$250.000 relation to, the defendant’s crime of
Supervised Release: 0 — 5 years violence.
Special Assessment: $100
18 U.S.C. § | 3. The defendant caused the death of a
| 924()(1) & Section | person through the use of the firearm.
2
|
| 1. The defendant knowingly committed
| Use of a Firearm | the elements of a crime of violence:
During and in | and
Relation toa Crime | Imprisonment: 10years-Life
| of Violence Fine: $0-8250,000 2. The defendant knowingly used,
Supervised Release: 0 — 5 years carried, or possessed a firearm; and
1I8US.C.§ Special Assessment: $100
| HIYOA 3. The use or carry of the firearm was
| 924(c)(1)(A) & : : :
Section 2 during and in relation to the
defendant’s crime of violence.
:
| 1, The defendant knowingly committed
i Use of a Firearm the elements of a crime of violence:
: : and
During and in
rer Vien | Faas SUSagOOO | 2. The defendant knowingly use,
8 | Supervised Release: 0 — 5 years carried, or possessed a firearm; and
| 18 U.S.C. § Special Assessment: $100 3. The use or carry of the firearm was
| 924(c)(1)(A) & during and in relation to the
| Section 2 defendant’s crime of violence.
| |
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Count | Charge Statutory Penalties Essential Elements

|

| | 1. The defendant knowingly committed |

| Use of'a Firearm ne elements of a crime of violence: |

| During and in |

| Relation to a Crime imprisonment: 10years-Life | 2. The defendant knowingly used, |

10 | of Violence Fine: $0-$250,000 cartied, dafi - and

| Supervised Release: 0 — 5 years | armied, or possessed a firearm: a |

| | 18U.S.C.§ _| Special Assessment: $ 100 | 3. The use or carry of the firearm was |

| | 924(c)Q (A) & | during and in relation to the |
| Section 2 | defendant’s crime of violence,

we J

Defendant committed acts that satisfy each of the essential elements listed above.

 

 

on The United States agrees to dismiss Counts 2, 5, 7 and 9 at the time of sentencin g.

3. Title 18, United States Code, Section 3013 requires the Court to assess a $100
“special assessment” per felony count. Defendant understands that the special assessment will be
due immediately at the time of sentencing.

4. Defendant understands that the United States may recommend, and the Court may
impose, a fine, costs of incarceration, and costs of supervision. The Defendant agrees to
participate in the Inmate Financial Responsibility Program to help satisfy any financial
obligations.

oN Defendant shall provide the United States Probation Office with all information
requested to prepare the Presentence Report, including signing all releases. Defendant agrees that
the Probation Office may share any financial information with the United States Attorney’s
Office and Defendant waives any rights Defendant may have under the Right to Financial
Privacy Act. Defendant agrees to make complete financial disclosure by truthfully filling out a
financial statement, at the direction of the United States Attorney’s Office. Defendant also
expressly authorizes the United States Attorney’s Office to obtain Defendant’s credit report on or

after the date of this agreement.
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6.

fl. Advisory Sentencing Guidelines

Defendant understands that in determining the sentence, the Court is obligated to

consider the minimum and maximum penalties allowed by law. In determining what sentence to

impose, the Court will also calculate and consider the applicable range under the U.S. Sentencing

Guidelines. The Court will ultimately determine the sentence after hearing the arguments of the

parties and considering the sentencing factors set forth at 18 U.S.C. §3553(a), which include:

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(i)

(it)

(iii)
(iv)

(v)

the nature and circumstances of the offense and the history and
characteristics of the defendant:

the need for the sentence imposed to reflect the seriousness of the offense,
promote respect for the law, and provide just punishment for the offense,
afford adequate deterrence to criminal conduct, protect the public from
further crimes of the defendant, and provide the defendant with needed
educational or vocational training, medical care, or other correctional
treatment in the most effective manner,

the kinds of sentences available:

the need to avoid unwarranted sentencing disparities among defendants
with similar records who have been found guilty of similar conduct; and

the need to provide restitution to any victim of the offense.

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), the Court is not

bound by the parties’ calculations of the US Sentencing Guidelines range set forth in this Plea

Agreement or by the parties’ sentencing recommendations, Therefore, the Court may impose a

different sentence than what is described in this Plea Agreement - anywhere between the

minimum sentence (if any) up to the statutory maximum sentence. If the Court.imposes a

different sentence than what is described in this Plea Agreement, the parties shall not be

permitted to withdraw from the Plea Agreement and the Defendant will not be permitted to

withdraw the guilty plea.
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8. The United States and Defendant submit that, after all factors have been

considered, Defendant will have the following advisory US Sentencing Guideline range:
Offense Level: 35
Criminal History Category of |

Imprisonment range of 168-210 months to run consecutively with a
mandatory minimum sentence of 10 years on Counts 3, 6, 8, 10.

9. The parties submit that the applicable advisory Guideline calculation is as
follows:

a. The Base Offense Level for Count 1 is 38. For the crime of racketeering
conspiracy, the Base Offense Level is the greater of 19 or the offense level applicable to the
underlying racketeering activity. U.S.S.G. §2E1.1. If the underlying conduct violates state law,
the offense level corresponding to the most analogues federal offense is to be used. Here, the
underlying racketeering activity is murder, resulting in a Base Offense Level of 38. U.S.S.G.
§2A1.2.

10. Defendant and the Government agree that Defendant has voluntarily
demonstrated a recognition and affirmative acceptance of personal responsibility for this
criminal conduct, and the Government will recommend a reduction of 2 Levels. See U.S.8.G. §
3E1.1. The parties also agree that the Defendant qualifies for an additional 1 Level reduction by
timely notifying authorities of an intention to plead guilty thereby permitting the government to
avoid preparing for trial and permitting the government and the court to allocate their resources
efficiently. However, a reduction for acceptance of responsibility is dependent on Defendant not
committing any acis or taking any position prior to sentencing inconsistent with acceptance of
responsibility, including falsely denying, or frivolously contesting, relevant conduct or

committing any acts constituting obstruction of justice.
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11. The parties submit that it appears that Defendant has amassed (0) Criminal
History points and that, therefore, the Sentencing Guideline Criminal History Category is I.
The parties acknowledge that the Defendant is in the best position to know if his/her criminal
history information is correct and complete. If it is not, the sentencing calculations reflected in
this Plea Agreement may be substantially impacted. Defendant further recognizes that the final
calculation will be determined by the Court after considering the Presentence Report, the views
of the parties, and any evidence submitted. Regardless of the criminal history found by the Court,
the parties will not be able to withdraw from this plea agreement and the Defendant will not be
able to withdraw the guilty plea.

12.‘ The parties reserve the right to argue for, present testimony, or otherwise support
the Probation Office's or the Court's findings as to Offense Level and Criminal History Category,
which may be different from the calculations set forth in this Plea Agreement.

III. Sentencing Recommendations
13. The United States and Defendant will address the sentencing factors set forth in
18 U.S.C. § 3553{a), but agree not to seek a sentence outside of the Guideline range that is
ultimately determined to be applicable by the Court. The United States agrees to recommend a
sentence within the Guideline range ultimately found by the Court.
IV. Limitation of Plea Agreement & Breach of the Agreement
14. _—_ All agreements between the parties are written and no other promises,
inducements, representations, or threats were made to induce Defendant to enter into the Plea
Agreement and Stipulation of Facts. Defendant agrees that this Plea Agreement, the Stipulation

of Facts, and any supplements, make up the entire agreement between the United States and
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Defendant and supersedes any other agreement, oral or written. The terms of this Plea
Agreement can be modified only in writing signed by all of the parties.

15. The United States will file a sealed supplement to this plea agreement, as required
in every case in the Southern District of Illinois. That supplement may, or may not, include
additional terms. If additional terms are included in the supplement, they are incorporated and
made a part of this Plea Agreement.

16. | Defendant understands and acknowledges that the Plea Agreement is limited to
the Southern District of Illinois, and cannot bind other federal, state or local prosecuting
authorities. Defendant further understands and acknowl edges that the Plea Agreement does not
prohibit the United States, any agency thereof, or any third party from initiating or prosecuting
any civil proceedings directly or indirectly involving Defendant.

17. If the Defendant commits any violation of local, state or federal law (other than a
petty traffic offense), violates any condition of release, violates or fails to perform any term of
this Plea Agreement, provides misleading, incomplete, or untruthful information to the U.S.
Probation Office, or fails to appear for sentencing, the United States, at its option, may ask the

Court to be released from its obligations under this Plea Agreement. The United States may also,
in its sole discretion, proceed with this Plea Agreement and may advocate for any sentencing
position supported by the facts, including but not limited to obstruction of justice and denial of
acceptance of responsibility. No action taken or recommendation made by the Government
pursuant to this paragraph shall be grounds for the Defendant to withdraw the guilty plea.

18. Defendant agrees that in the event the Defendant materially breaches this Plea
Agreement, or Defendant is permitted to withdraw Defendant’s guilty plea(s), that any and all

statements made by Defendant, whether under oath or not, at the change of plea hearing, and any
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evidence derived from such statements, are admissible against Defendant in any prosecution of
or action against Defendant. Defendant knowingly and voluntarily waives any argument under
the United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11()
of the Federal Rules of Criminal Procedure, or any other federal rule, that the statements or any

evidence derived from any statements should be suppressed or are inadmissible.

V. Defendant’s Waiver of Rights, Consequences of Plea of Guilty, and Appeal Waiver

 

19. The Defendant has the right to be represented by counsel, and if necessary, to
have the Court appoint counsel at trial and at every other stage of the proceeding. Defendant’s
counsel has explained the waivers of rights, and the consequences of those waivers, that are
contained in this Plea Agreement. Defendant fully understands that, as a result of the guilty plea,
no trial will occur and that the only action remaining to be taken in this case is the imposition of
the sentence.

20. _ By pleading guilty, Defendant fully understands that Defendant is waiving the
following rights: the right to plead not guilty to the charges; the right to be tried by ajury ina
public and speedy trial; the right to file pretrial motions, including motions to suppress or
exclude evidence; the right at such trial to a presumption of innocence; the right to require the
United States to prove the elements of the offenses charged against Defendant beyond a
reasonable doubt, the right not to testify; the right not to present any evidence; the right to be
protected from compelled self-incrimination; the right at trial to confront and cross-examine
adverse witnesses; the right to testify and present evidence; and the right to compel the
attendance of witnesses.

21. Release Pending Sentencing: Defendant acknowledges that Title 18, United

States Code, Section 3143(a)(2) requires that upon the Court’s acceptance of a plea of guilty in
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this case, the Court must order Defendant detained pending sentencing, in the absence of
exceptional circumstances as set forth in Title 18, United States Code, Section 3 145(c). United

States and the Defendant agree that there are no exceptional circumstances that would justify
Defendant’s release pending sentencing.
22. Defendant understands that by pleading guilty, Defendant is waiving all appellate
issues that might have been available if Defendant had exercised the right to trial.
23. Defendant is aware that Title 18, Title 28, and other provisions of the United
States Code afford every defendant limited rights to contest a conviction and/or sentence through
appeal or collateral attack. However, in exchange for the recommendations and concessions
made by the United States in this Plea Agreement, Defendant knowingly and yoluntarily
waives the right to seek modification of, or contest any aspect of, the conviction or sentence
in any type of proceeding, including the manner in which the sentence was determined or
imposed, that could be contested under Title 18 or Title 28, or under any other provision of
federal law. Defendant’s waiver of the right to appeal or bring collateral attacks includes
contesting: 1) the constitutionality of the statute(s) to which Defendant is pleading guilty or
under which Defendant is sentenced; and 2) that the conduct to which Defendant has admitted
does not fall within the scope of such statute(s).
24. Exceptions to the waiver of the right to appeal or bring a collateral attack:
a. If the sentence imposed is in excess of the Sentencing Guidelines as determined
by the Court (or any applicable statutory minimum, whichever is greater),
Defendant reserves the right to appeal the substantive reasonableness of the term
of imprisonment. Defendant acknowledges that in the event such an appeal is

taken, the United States reserves the right to fully and completely defend the
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sentence imposed, including any and all factual and legal findings supporting the
sentence, even if the sentence imposed is more severe than that recommended by
the United States.

b. The defendant’s waiver of the right to appeal or bring a collateral attack does not
apply to a claim that Defendant received ineffective assistance of counsel.

c. The Government agrees that it will not assert that Defendant’s waiver of the right
to seek modification of the sentence imposed precludes Defendant from filing a
motion for compassionate release pursuant to 18 U.S.C. 3582(c)(2). See United
States v. Bridgewater, 995 F.3d 591 (7th Cir. 2021). In exchange, Defendant
agrees to the following limitations on Defendant’s right to seek such relief from
the Court:

1. Until the United States Sentencing Commission amends U.S.S.G. §
1B1.13 as it exists on the date of this agreement, Defendant may seek
compassionate release only to the extent and upon the bases allowable
under § 1B1.13 and its Application Notes 1(A) —(C), 2, and 3 defining
extraordinary and compelling circumstances, except that the motion
need not be initiated by the Director of the Bureau of Prisons.

2. After the Sentencing Commission amends § 1B1.13, Defendant may
seek compassionate release only to the extent and upon the bases
allowable by § 1B1.13 and its Application Notes as they exist at the time
Defendant’s motion is filed.

3. Defendant may not assert in a successive motion for compassionate

release any ground which was asserted in a prior motion under §

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3582(c)(2) as a basis for relief where the prior motion was denied on
its merits.

25. Except as expressly permitted in the preceding paragraph, Defendant
acknowledges that any other appeal or collateral attack may be considered a material breach of
this Plea Agreement and the United States reserves the right to take any action it deems
appropriate, including having a court declare that Defendant has materially breached this Plea
Agreement.

26.  Defendant’s waiver of appeal and collateral review rights shall not affect the
United States’ right to appeal Defendant’s sentence pursuant to Title 18, United States Code,
Section 3742(b). This is because United States Attorneys lack any right to control appeals by the
United States, through plea agreements or otherwise; that right belongs to the Solicitor General.
28 C.F.R. § 0.20(b).

27. Defendant hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any Department or Agency of the United States, or unit
of state government, any records pertaining to the investigation or prosecution of this case,
including without limitation, any records that may be sought under the Freedom of Information
Act, Title 5, United States Code, Section 552, or the Privacy Act of 1974, Title 5, United States
Code, Section 552a, or the Ilinois Freedom of Information Act (5 ILCS 140) or the Illinois Open
Meetings Act (5 ILCS 120).

28. Defendant waives all civil claims against the United States or any official working

on behalf of the United States during the investigation or prosecution of this matter.

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VI. Collateral Consequences of Conviction
29. Defendant understands that Defendant is pleading guilty to a felony punishable by

a term of imprisonment exceeding one year. Therefore, no matter what sentence the Court
imposes (whether probation or any term of imprisonment), Defendant will be forbidden by
federal firearms laws from possessing any type of firearm in Defendant’s lifetime, unless
Defendant obiains relief pursuant to 18 U.S.C. § 925, or other appropriate federal statute.

30. Defendant acknowledges that other collateral consequences are possible.

VIL Defendant’s Acknowledgements

31. Defendant is fully satisfied with the representation received from defense counsel.
Defendant has reviewed the United States’ evidence and has discussed the United States’ case,
possible defenses and defense witnesses with defense counsel. Defendant’s attorney has
completely and satisfactorily explored all areas which Defendant has requested relative to the
United States’ case and possible defenses. Defendant acknowledges having had adequate
opportunity to discuss the potential consequences of the guilty plea with defense counsel,
Defendant has had all of Defendant’s questions answered by defense counsel. Defendant agrees
that this Plea Agreement is not the result of any threats, duress or coercion. Defendant enters
this guilty plea freely, voluntarily, and knowingly, because Defendant is in fact guilty.

32. By signing this Plea Agreement, Defendant certifies having read it (or that it has
been read to Defendant in a language that Defendant understands), Defendant has discussed the

terms of this Plea Agreement with defense counsel and fully understands its meaning and effect.

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No additional matters are in dispute.

RACHELLE AUD CROWE
United States Attorney

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Assistant United States Attorney

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A xander B. Gottfried
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